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                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                         Case No. 02-cr-153-12-13-14-15-SM

Corey Fleischer, Joyce Goodlin,
Rita Kajoyan, Deborah Wasserman

                                    ORDER

      Defendant Goodlin’s motion to continue the final pretrial conference and

trial is granted (document 332). Trial has been rescheduled for the September

2007 trial period. Defendant Goodlin shall file a waiver of speedy trial rights

not later than February 6, 2007. Upon filing of such waiver, her continuance

shall be effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial, 18

U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.

      Final Pretrial Conference: August 24, 2007 at 3:00 p.m.

      Jury Selection: September 5, 2007 at 9:30 a.m.
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      SO ORDERED.



                                   ____________________________
                                     Steven J. McAuliffe
                                     Chief Judge

January 29, 2007

cc:   Paul Maggiotto, Esq.
      David Vicinanzo, Esq.
      Michael Sheehan, Esq.
      Andrew Schulman, Esq.
      Don Feith, AUSA
      US Probation
      US Marshal




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